             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



STEPHANIE RATCLIFF,

                               Plaintiff,
          V.
                                                           CASE NO.: 1:18-CV-511
KHAN & KHAN HOSPITALITY,
LLC D/B/A FAIRVIEW INN,

                               Defendant.



               COMPLAINT AND REQUEST FOR JURY TRIAL


          NOW COMES the Plaintiff, Stephanie Ratcliff (“Ratcliff”), and complaining of the

Defendant, Khan & Khan Hospitality d/b/a Fairview Inn (“Fairview Inn”), and alleges

the following to be true:

                                     INTRODUCTION

      1         This action stems from Fairview Inn’s discriminatory termination of Ratcliff

based on sexual orientation, as well as Fairview Inn’s refusal to return to Ratcliff

numerous tools which belonged to her after her termination.

      2         Each paragraph of this complaint incorporates all others, and all exhibits are

incorporated as if fully laid out herein.



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                    PARTIES, JURISDICTION, AND VENUE

      3        Ratcliff is a resident of Guilford County, North Carolina, and is neither a

minor nor incompetent.

      4        Fairview Inn is a domestic corporation with a principal place of business and

registered agent in Guilford County, North Carolina.

      5        This Court has subject-matter jurisdiction over this action pursuant to

any/all of the following:

             5.1      28 U.S.C. § 1331, as the action arises out of 42 U.S.C. § 2000e et

                      seq.;

            5.2       With regard to Plaintiff’s state law claims, 28 U.S.C. § 1367(a), as the

                      state law claims form part of the same case or controversy as those

                      giving rise to original jurisdiction.

      6        This Court has personal jurisdiction over all parties to this matter pursuant

to any/all of the following:

             6.1      Rule 4(k)(1)(A) of the Federal Rules of Civil Procedure, which

                      requires the federal district courts to use the rules for personal

                      jurisdiction of the state where the district court is located;

            6.2       N.C. Gen. Stat. § 1-75.4(c) and (d), as Fairview Inn was (a natural

                      person present within this State/a natural person domiciled within

                      this State/a domestic corporation/engaged in substantial business


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                     activity within this state) at the time service of process was made

                     upon it.

            6.3      N.C. Gen. Stat. § 1-75.4(3), as this action arises from a local act or

                     omission causing injury to Ratcliff’s person or property.

     7        Venue is proper in this Court pursuant to any/all of the following:

            7.1      28 U.S.C. § 1391(b)(1), as all Defendants are residents of North

                     Carolina and at least one defendant is a resident of the Middle

                     District of North Carolina;

            7.2      28 U.S.C. § 1391(b)(2), as a substantial part of the events or

                     omissions giving rise to this action occurred in the Middle District of

                     North Carolina.

                            STATEMENT OF THE FACTS

     8        Ratcliff is a homosexual female.

     9        Ratcliff has began working for Fairview Inn in 2015 as an on-site maintenance

supervisor. Her job consisted of living on-site at Fairview Inn and worked on repairs and

remodels of the building.

    10        Ratcliff was improperly classified as a contractor when she was, in fact, an

employee.

          10.1       Fairview Inn was Ratcliff’s sole employer.




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           10.2       Fairview Inn controlled when and where Ratcliff worked, including

                      when she left and arrived at work and when she took breaks.

           10.3       Ratcliff had a set schedule and clocked in and out in the same

                      clocking program used by Fairview Inn employees, but was also on-

                      call for emergencies.

           10.4       Fairview Inn gave Ratcliff her work assignments.

           10.5       Ratcliff was required to perform her assignments personally.

           10.6       Fairview Inn paid Ratcliff on a weekly paycheck.

           10.7       Fairview Inn reported Ratcliff’s taxes on a 1099 rather than a W-2.

     11        Fairview Inn’s Owners, Khan and Sherry Khan, vocally disapproved of

Ratcliff’s relationship with her girlfriend, Amna Hussein (“Hussein”).

     12        Hussein and the Khans were both Pakistani Muslims.

     13        When Hussein first started dating Ratcliff, Sherry Khan called her and told

her she should not be in a relationship with Ratcliff and that it was “not right” because of

their religion.

     14        The Khans repeatedly told Hussein that her relationship with Ratcliff was

“not right” and that they would find her someone to marry.

     15        When Hussein moved in with Ratcliff, Fairview Inn raised Ratcliff’s rent by

$200 per month on the pretense that there was another person living with her, but




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heterosexual couples, both guests and other employees, were not charged extra for living

with their spouses, significant others, and/or children.

    16        It was, in fact, Fairview Inn’s policy to charge by the room, not the person.

    17        During her time at Fairview Inn, Ratcliff was often called a dike and

occasionally threatened by guests or contractors.

    18        When Ratcliff reported these instances to her manager, Cindy Henson

(“Henson”), Henson would do nothing and tell her to suck it up.

    19        Henson herself referred to Ratcliff as a dike on several occasions.

    20        On September 12, 2017, Ratcliff went to the HR Manager, Ashley Bullis

(“Bullis”) to complain about being treated unfairly based on her sexual orientation.

    21        The next day, September 13, Bullis told Ratcliff that the Khans wanted her to

move off the property.

    22        On September 15, Ratcliff contacted Sherry Khan to ask why this was

happening but did not receive an answer.

    23        On September 18, Henson texted Ratcliff and told her that Khan Khan

wanted her keys. A few hours later, Sherry Khan told her to move off property.

    24        On September 19, Ratcliff was terminated. She was not given any reason for

her termination.

    25        While Ratcliff worked for Fairview Inn, she provided some of her own tools.




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    26        After Ratcliff was terminated, Fairview Inn would not allow her to come get

her tools. They still possess and will not return the following items which Ratcliff

purchased herself and owns:

           26.1      One red Craftsman brand 6 drawer top box containing a number of

                     socket wrenches, saw blades, drill bits, and ratchets;

          26.2       One red Craftsman brand 5 drawer rolling bottom box containing a

                     number of screwdrivers, Allen wrenches, and a reciprocating saw;

          26.3       One five-piece home theater speaker system;

          26.4       Two welding masks;

          26.5       One black five-gallon dual tank air compressor;

          26.6       One yellow forced air propane heater;

          26.7       Two propane tanks;

          26.8       One regulator hose;

          26.9       One Poulan brand chainsaw;

         26.10       One Worx brand electric hedge trimmer;

          26.11      One blue T-square;

         26.12       One silver T-square;

         26.13       One set of black auto ramps;

         26.14       One black cast-iron water pump; and

         26.15       One Chicago Electric brand wet saw.



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    27         Ratcliff filed an EEOC Charge for sex and retaliation discrimination with the

EEOC on March 15, 2018.

    28         Ratcliff received a Notice of Right to Sue from the EEOC on March 21,

2018.

                             FIRST CAUSE OF ACTION
            Sex Discrimination – Sexual Orientation/Gender Stereotyping
              Title VII of the Civil rights Act of 1964, 42 U.S.C. § 2000e et seq.

    29         Ratcliff is homosexual.

    30         Fairview Inn was aware that Ratcliff is a homosexual.

    31         Ratcliff was terminated.

    32         There was a causal connection between Ratcliff’s sexual orientation and/or

failure to conform to gender stereotypes and her termination.

    33         Fairview Inn has at least 15 employees.

                             SECOND CAUSE OF ACTION
                                             Retaliation
                Title VII of the Civil rights Act of 1964, 42 U.S.C. § 2000e et seq.

    34         Ratcliff engaged in a protected activity by opposing sexual orientation

discrimination.

    35         Fairview Inn was aware that Ratcliff opposed sexual orientation

discrimination.

    36         There was a causal connection between Ratcliff’s protected activity and her

termination.

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    37        Fairview Inn has at least 15 employees.

                            THIRD CAUSE OF ACTION
                                   Conversion

    38        Ratcliff is the owner of the items listed in Allegation 26 supra.

    39        Fairview Inn wrongly possesses the items listed in Allegation 26 supra.

                      PRAYER FOR PUNITIVE DAMAGES

    40        As to Ratcliff’s claims under federal law, Fairview Inn is liable for

compensatory damages and at least one of the following factors was present and related to

the conduct for which it is liable:

          40.1        Malice;

          40.2        An evil motive; and/or

          40.3        Callous indifference to a federally protected right.

    41        As to Ratcliff’s claims under state law, Fairview Inn is liable for

compensatory damages and at least one of the following factors was present and related to

the conduct for which it is liable:

           41.1       Fraud;

           41.2       Malice; and/or

           41.3       Willful or wanton conduct.

    42        Officers, directors, and/or managers of Fairview Inn participated in and/or

condoned the conduct constituting the aggravating factor giving rise to punitive damages.



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                             REQUEST FOR JURY TRIAL

    43         Plaintiff requests a trial by jury on all issues so triable.

WHEREFORE, the plaintiff respectfully requests this Court that it:

    44         Enter Judgment for Ratcliff against Fairview Inn on all causes of action

contained Herein;

    45         Award Ratcliff damages, including punitive damages, in an amount to be

determined at trial;

    46         Tax the costs of this action against Fairview Inn and award Ratcliff

reasonable attorney’s fees as permitted by law; and

    47         Grant such other and further relief as the Court deems just and proper.



         Respectfully submitted on this, the 18th day of June, 2018.


                                                       /S/ WILSON FONG
                                                       Attorney for the Plaintiff
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                           CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2018, I electronically filed the foregoing Complaint

and Request for Jury Trial with the Clerk of Court using the CM/ECF system, and upon

receipt of Summons from the Clerk, will serve all parties to this matter via US Mail,

Certified, Return Receipt to:

                            Khan & Khan Hospitality, LLC
                            c/o Khan A. Khan
                            PO Box 49452
                            Greensboro, NC 27419
                            Defendant



                                                   /S/ WILSON FONG
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